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         ORDERED in the Southern District of Florida on October 4, 2021.



                                                                  Peter D. Russin, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________



                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                      FORT LAUDERDALE DIVISION

         In re:                                                          Case No. 21-15007-PDR
                                                                         Chapter 11
         STAMATIKE GLARENTZOS,
         SSN: xxx-xx-5816

                     Debtor.
         ______________________________________/

                    ORDER SUSTAINING DEBTOR’S FIRST OBJECTION TO CLAIMS

                  This matter having been considered without hearing upon the Debtor’s Objection to Claim(s)
         [ECF No. 43], and the objector by submitting this form order having represented that the objection
         was served on the parties listed below, that the 30-day response time provided by Local Rule
         3007-1(D) has expired, that no one listed below has filed, or served on the objector, a response to
         the objection, and that the relief to be granted in this order is the identical relief requested in the
         objection, and this Court having considered the basis for the objection to the claim, it is
                  ORDERED that Debtor’s objection(s) to the following claims are sustained:




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 Claim holder                     Claim    Disposition
                                  No.
 American Express National           3     The objection is sustained and the claim shall be
 Bank                                      disallowed and stricken.
 U.S. Bank Trust, National           4     The objection is sustained and the claim shall be
 Association, as Trustee of                allowed as a secured claim in the total sum of
 Bungalow Series IV Trust                  $1,200,000.00.
 c/o SN Servicing Corporation

                                               ###
Submitted by:
Peter Spindel, Esq.
Attorney for Debtor
8306 Mills Dr. #458
Miami, FL 33183-4838
Tel/Tex: 305.799.5724
email: peterspindel@gmail.com

The party submitting the order shall serve a copy of the signed order on all required parties and
file with the court a certificate of service conforming with Local Rule 2002-1(F).




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